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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

UNITED STATES OF AMERICA

-vs-                                                             Case No. 2:05-cr-152 (15)

KEVIN REX RUTH
_____________________________________


                                   Report And Recommendation
                                    Concerning Plea Of Guilty

        The Defendant, by consent, has appeared before me pursuant to Rule 11, F.R.Cr.P. and has

entered a plea of guilty to Count one of the Indictment and has agreed to the forfeiture described in

Count 13 of the Indictment. After examining the Defendant under oath concerning each of the

subjects mentioned in Rule 11, I determine that the guilty plea is knowingly and voluntary and that

the offenses charged are supported by an independent basis in fact containing each of the essential

elements of such offense. I therefore RECOMMEND that the plea agreement and the plea of guilty

be accepted and that the Defendant be adjudged guilty and sentenced accordingly. I further

RECOMMEND that the Court make a preliminary finding that the money described in Count 13 is

subject to forfeiture. The Defendant remains on conditions of release pending sentencing.


Date: February 16, 2006

                                                          /s/ Terence P. Kemp
                                                                      TERENCE P. KEMP
                                                          UNITED STATES MAGISTRATE JUDGE


                                                NOTICE

         Failure to file written objections to this Report and Recommendation within ten (10) days from the
date of its service shall bar an aggrieved party from attacking such Report and Recommendation before the
assigned United States District Judge. 28 U.S.C. Section 636(b)(1)(B).
